      Case 4:07-cv-05944-JST Document 4039 Filed 09/08/15 Page 1 of 2




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Harold A. Barza (Cal. Bar No. 80888)
 2  halbarza@quinnemanuel.com
    Kevin Y. Teruya (Cal. Bar No. 235916)
 3  kevinteruya@quinnemanuel.com
   865 South Figueroa Street, 10th Floor
 4 Los Angeles, California 90017-2543
   Telephone:    (213) 443-3000
 5 Facsimile:    (213) 443-3100
 6 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Ryan S. Goldstein (Cal. Bar No. 208444)
 7   ryangoldstein@quinnemanuel.com
   NBF Hibiya Building, 25F
 8 1-1-7, Uchisaiwai-cho, Chiyoda-ku
   Tokyo 100-0011, Japan
 9 Telephone:     +81 3 5510 1711
   Facsimile:     +81 3 5510 1712
10
   Attorneys for Defendants Mitsubishi Electric
11 Corporation, Mitsubishi Electric US, Inc., and
   Mitsubishi Electric Visual Solutions America,
12 Inc.
13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                 SAN FRANCISCO DIVISION
16 IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-05944-SC
   ANTITRUST LITIGATION
17                                             MDL No. 1917
18 This document relates to:                   NOTICE OF APPEARANCE OF
                                               HAROLD A. BARZA
19 ALL ACTIONS
                                               Judge: The Honorable Samuel Conti
20
21
22
23
24
25
26
27
28

                                                           Case No. 07-cv-05944-SC; MDL No. 1917
                                                 NOTICE OF APPEARANCE OF HAROLD A. BARZA
       Case 4:07-cv-05944-JST Document 4039 Filed 09/08/15 Page 2 of 2




 1         TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2         PLEASE TAKE NOTICE THAT Harold A. Barza hereby enters an appearance in the
 3 above-captioned matter as an attorney for Defendants Mitsubishi Electric Corporation, Mitsubishi
 4 Electric US, Inc., and Mitsubishi Electric Visual Solutions America, Inc. Mr. Barza is admitted to
 5 practice before this Court.
 6 DATED: September 8, 2015                   Respectfully submitted,

 7                                            QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
 8
 9
10                                              By/s/ Harold A. Barza
                                                  Harold A. Barza (Cal. Bar No. 80888)
11                                                halbarza@quinnemanuel.com
12                                                865 South Figueroa Street, 10th Floor
                                                  Los Angeles, California 90017-2543
13                                                Telephone:     (213) 443-3000
                                                  Facsimile:     (213) 443-3100
14
                                                   Attorneys for Defendants Mitsubishi Electric
15                                                 Corporation, Mitsubishi Electric US, Inc., and
                                                   Mitsubishi Electric Visual Solutions America, Inc.
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    -2-             Case No. 07-cv-05944-SC; MDL No. 1917
                                                          NOTICE OF APPEARANCE OF HAROLD A. BARZA
